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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN


IN RE: FORD MOTOR CO. F-150
AND RANGER TRUCK FUEL                    Case No. 2:19-md-02901-SFC
ECONOMY MARKETING AND
SALES PRACTICES LITIGATION,              Honorable Sean F. Cox

This Document Relates To: All
Actions



                           INDEX OF EXHIBITS

Exhibit No.                         Description of Exhibit
Exhibit 1                           Unpublished Cases

Exhibit 2                           Ford’s Quarterly Report

Exhibit 3                           The Miller Law Firm Securities Fraud
                                    Settlement

Exhibit 4                           In re FCA Monostable Gearshift - Order
                                    Striking Appendix

Exhibit 5                           Wyeth v. Levine, 129 S. Ct. 1187 (2009)

Exhibit 6                           Counts v. Gen. Motors, LLC, 237 F.
                                    Supp. 3d 572 (E.D. Mich. 2017)

Exhibit 7                           In re Duramax Diesel Litig., 298 F. Supp.
                                    3d 1037 (E.D. Mich. 2018)
